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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

HENRY THIGPEN, et al.,                        §
  Plaintiffs                                  §
                                              §
     v.                                       §                     Cause No. 4:19-CV-2773
                                              §
GEO REENTRY, INC.                             §
  Defendant                                   §

               SUPPLEMENT TO CIVIL COVER SHEET JS-44 [Doc.1-1]

TO THE HONORABLE DISTRICT COURT JUDGE:

          NOW COMES GEO Reentry, Inc., a Defendant in the above styled and numbered

cause, and files this Supplement to Civil Cover Sheet [Doc.1-1] and would show as

follows:

1.        GEO Reentry, Inc. removed this case from the 269th Judicial District Court,

Harris County, Texas, to this Court on July 27, 2019. In conjunction with the removal,

Defendant filed a Civil Cover Sheet, form JS-44. Doc.1-1

2.        Defendant wishes to supplement parts I.(a) and (b) of the JS-44 with the following

information. The persons listed below are all of the Plaintiffs named in the petition they

filed in the state district court. They are all represented by counsel identified in part I.(c)

of Doc.1-1. They are all alleged to be residents of Harris County. They are:

          Charles Adams; Johnelle Allen; Alan Anderson; Lloyd Anderson; Rogelio

          Apolinar; Robert Ardrey; Pitte Arlington; Raymond Arriaga; Cedric Bagby;

          Charles Bardo II; Morris Beaver; Ernest Bellotte; Weldon Blackshear; Thomas

          Block; Tony Borrego; Douglas Bowie; Davis Boyd; Reginald Brady; Jesse Branch
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        Jr.; John Brimsey; Hoai Bui; Harry Burton; Sammie Burns; Ronald Caldwell; Juan

        Campos; Lee Cantwell; Eric Carr; Deforiest Carraway; Zimman Casey; Anthony

        Coke; Lawrence Coleman; Everett Crawford; Craig Criss; Kendrick Cross; Lonnie

        Daniel; Richard Daniel; Donald Davis; Phillip Davis; Richard Davis; Benjamin

        Delgado; Johnnie Dent; Joseph Doyle; Horace Drewry; James Dykes; Leo

        Durden; Ronald Durden; Clyde DuRousseau; Hipolito Equia; Bradley Everage;

        Randy Everitt; David Falcone; Louis Farmer; Michael Fondren; Dwain Galentine;

        Gordon Gann; Dominic Garcia; Gabriel Garcia; Rudolph Garcia; Eddie Garrett;

        Byron Garrick; Julian Garza; Wilson Gee; Arnold Gentry; Freddie George;

        Marion Gilbert; Dwayne Gilpin; Lawrence Goleman; Michael Gomez; Albert

        Ramires Gonzalez; David Gonzalez; Ronnie Gonzalez; Anthony Goodeau; Noble

        Green; James Griffin; Daniel Grimes; James Hair; Gregory Hammers; Michael

        Harris; David Hawkins; Reginald Hayes; Chester Henderson; Gregory Henderson;

        James Henry; George Higgins; Cruz Hinojosa; Kenneth Hodges; Jordan Holland;

        Gregory House; Erik Hull; Luckes Jackson; Patrick Jackson; Stewart Jimmy;

        Anthony Johnson; Sean Johnson; Issac Jones; Manuel Joseph; Roger Keith;

        Daniel Kendrick; Alcides Kendelan; Steven King; Quillis Kittrell; Curtis

        Lacefield; Don Laird; Brett Larsen; David Laundry; Jonathon Lawson; Eugene

        Lavan; Perez Lazaro; Jesse Ledesma; Bobby Lee; Gentry Lee; Anthony Johnson;

        Ricky Lowe; Jesse Lozano; Joe Luna; James Maddoux; David Martin; Jesus

        Martinez; Sergio Martinez; Steven Martinez; Fred McBurnett; Randy McCarty;

        Joseph McClure; Samuel McCullough; Derrell McDowell; Randy McWilliams;
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        Derrell McPowell; Diego Mena; Donald Mike; Gerald Miller; Willie Miller; Mark

        Milligan; Wilbert Millines Jr.; Billy Montgomery; Joseph Morris; Bruce

        Mortensen; Michael Moya; Richard Murry; Herbert Myers; Joseph Nealy;

        Timothy Nealy; Richard Newman; Mark Newton; Arnold Noratmacfie; Alphonse

        Norris; Jeremy Olinger; Arnold Parker; Charles Patterson; Joseph Payne; Mark

        Penny; Roberto Pena; Lazaro Perez; Trevor Phelps; Christopher Pickett; Arlington

        Pittie; Barry Pleasant; Ricky Poehls; Michael Poutler; Devin Price; Lenny Rash;

        Ricky Ray; Thomas Reece; Thomas Reynolds; James Roberson; Alonzo

        Robinson; Alberto Rodriguez; Daniel Rodriguez; Luis Rodriguez; Raymond

        Rodriguez; Clifford Rosa; Steven Ross; Mario Sanchez; Ernesto Sandoval; Joseph

        Sanders; Michael Sellers; Thomas Shelby; Taylor Sherman; Michael Shinkewicz;

        Lewis Smith; Daniel Solomon; Rafael Sotomayor; Tommy Spelman; Charles

        Spence; Damion Stewart; Jimmy Stewart; Sherman Taylor; Henry Thigpen;

        Michael Thomason; Russell Thompson; Randall Thurman; Howard Turk; Edgar

        Turner; Roger Urbina; Ricardo Vasquez; Carl Walker; David Walker; Gunther

        Weller; Leonard White Jr.; John Whittenburg; Aaron Williams; Billy Williams;

        Erving Williams; Jeremy Williams; Johnny Williams; Loren Wilson; Kenneth

        Woods; Darrell Wright.




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                                             Respectfully Submitted,


                                                /s/ Timothy Flocos
                                             Timothy Flocos
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                                                    /s/ Shawn Fitzpatrick
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                                             San Antonio, Texas 78283-1121
                                             (210) 408-6793
                                             skf@fitzkoslaw.com

                                             Counsel for Defendant


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
on the following interested person(s) on July 29, 2019, via U.S. Mail:
      Scott Arnold
      The Law Office of Scott Arnold, PC
      310 Main Street, Ste. 200
      Houston, Texas 77002

      Maverick Ray and Matthew Marzak
      Maverick Ray and Associates, LLC
      310 Main Street, Ste 300
      Houston, Texas 77002




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